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                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                               NEW HAVEN DIVISION


In re:                                                 :   Case No.: 19-31430 (AMN)
          ACE BEGONIAS INC.,                           :   Chapter 7
               Debtor                                  :
                                                       :
                                                       :
          BONNIE C. MANGAN,                            :   Adv. Pro. No.: 21-03006
               Chapter 7 Trustee, Plaintiff            :
                                                       :
v.                                                     :   Re: ECF Nos. 18, 20
          WELLS FARGO BANK N.A. d/b/a                  :
          WELLS FARGO CARD SERVICES,                   :
                Defendant                              :
                                                       :

                            PRE-TRIAL SCHEDULING ORDER
          Pursuant to the statements made on the record during the continued Pre-Trial

Conference held on January 11, 2022, and after consideration of the proposed

scheduling order, ECF No. 18, filed by Wells Fargo Bank N.A. d/b/a Wells Fargo Card

Services (“Defendant”), in conjunction with the subsequent approval of the Chapter 7

Trustee, ECF No. 20, the court adopts some of the dates suggested by the parties and

enters further dates in this Pre-Trial Scheduling Order. See, ECF Nos, 18, 20.

Accordingly, it is hereby

          ORDERED: On or before January 31, 2022, the parties shall complete Fed. R.

Civ. P. 26(a) initial disclosures; and it is further

          ORDERED: On or before January 31, 2022, any party with a claim or counter

claim for damages shall serve the other party with the damages analysis; and it is

further
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       ORDERED: On or before March 1, 2022, the plaintiff shall file motions to join

additional parties or motions to amend their pleadings; and it is further

       ORDERED: On March 15, 2022, at 2:30 p.m., a continued Pre-Trial Conference

shall be held; and it is further

       ORDERED: On or before March 31, 2022, the defendant shall file its response to

to any amended complaint; and it is further

       ORDERED: On April 1, 2022, depositions may commence and shall conclude on

or before June 1, 2022; and it is further

       ORDERED: On or before July 1, 2022, the parties shall designate all trial experts

and provide opposing counsel with reports from retained experts on any issues on

which they bear the burden of proof. Depositions of such experts shall be completed by

September 1, 2022; and it is further

       ORDERED: On or before August 15, 2022, the parties will designate all rebuttal

trial experts and provide opposing counsel with reports from retained rebuttal experts.

Depositions of such rebuttal experts shall be completed by September 15, 2022; and it

is further

       ORDERED: On or before September 15, 2022, all fact discovery, including

depositions of expert witnesses shall be completed. The parties shall serve no more

than 25 interrogatories each; and it is further

       ORDERED: On September 20, 2022, at 2:30 p.m., a second, continued Pre-Trial

Conference shall be held; and it is further

       ORDERED: On or before October 14, 2022, the parties shall each file their list of

exhibits. The list of exhibits shall be filed as a new document in the Main case, with the
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exhibits to be used at the evidentiary hearing (redacted as to any personal identifying

information) filed as subordinate documents (or attached as exhibits) pursuant to the

instructions set forth in Exhibit A. Each party shall serve a copy of each exhibits to the

opposing party and file a certificate of such service. Listing of an exhibit or witness does

not imply an obligation on the party listing it to offer the exhibit into evidence or the

witness's testimony. No exhibit or witness not listed by either party may be used by that

party at the evidentiary hearing except (a) for rebuttal purposes or (b) if good cause for

its exclusion from this Scheduling Order is shown.

                       Dated this 14th day of January, 2022, at New Haven, Connecticut.
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                         EXHIBIT A
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                                           United States Bankruptcy Court
                                               District of Connecticut


                                    Instructions for Parties to File
                            Proposed Trial Exhibits on the CM/ECF Docket

     •   From the CM/ECF Menu:          Select Bankruptcy or Adversary
     •   Menu Category:                 Miscellaneous
     •   Select from the Menu of “Available Events” Exhibit(s)/List of Witnesses. Click Next to proceed to the
         next page.
     •   Select the Attorney filing the Exhibit(s)/List of Witnesses, Click Next to proceed to next page.
     •   Select the Name of the Party. Click Next to proceed to next page.

Then, please follow these additional steps:

a.       At the “Attach File Screen”:

         1. Select “Browse” and locate the PDF document to be filed on your computer (your List of Exhibits).
            The List of Exhibits should include the case caption, a numerical list of exhibits, and signature
            block. The document should be titled “[Party Name] List of Exhibits”. Upload the PDF document.

         2. Underneath the document selection box, you are asked whether there are attachments to the
            document: Select “YES.” Click Next to proceed to the next page to attach the Exhibits.

b.       At the “Select Attachments Screen”:

         1. Browse for the PDF file you intend to file and attach the PDF file to be uploaded for the first exhibit.

         2. Fill in the fields below:

                        Category:              Select Exhibit from drop down box

                        Description:           Enter a short description including the exhibit number
                                               (i.e., “Exhibit 1 - Car Lease”)

         3. Click “Add to List”

         4. Repeat steps (b)(1) through (b)(3) for each exhibit.

                NOTE: EACH EXHIBIT MUST BE FILED AS A SEPARATE PDF ATTACHMENT.

c.       At prompt, select the filing party and then add the name of the List of Exhibits (for example,
         “Plaintiff’s Exhibits or List of Witnesses,” “Movant’s List of Exhibits,” etc.)

d.       CM/ECF will ask you to link the exhibits you are filing to the matter scheduled for trial (i.e., the
         complaint, a particular motion or an objection). Select the ECF No. for the subject of the evidentiary
         hearing from the list CM/ECF provides.


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                                  United States Bankruptcy Court
                                      District of Connecticut

The final docket text should generally appear in the following format (note that each exhibit is itemized
in the docket text):

Plaintiff's List of Exhibits Filed by John Smith on behalf of Mary Jones Plaintiff (Re:)[1] Complaint
filed by Plaintiff Mary Jones.) (Attachments: # (1) Exhibit 1 Property Deed # (2) Exhibit 2 Car Lease
Contract# (3) Exhibit 3 Police Report).




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